64 F.3d 659
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kenneth TALLY, Plaintiff--Appellant,v.STATE of Maryland;  J. Joseph Curran, Jr.;  State's AttorneyOffice, Defendants--Appellees.
    No. 95-6537.
    United States Court of Appeals, Fourth Circuit.
    Aug. 17, 1995.
    
      Kenneth Tally, appellant pro se.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider the case.  We therefore deny Appellant's motion for appointment of counsel and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    